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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION

COALITION FOR GOOD                       )
GOVERNANCE and DONNA                     )
CURLING,                                 )
                                         )   Civil Action No. 5:23-mc-00001-LGW-BWC
       Plaintiffs,                       )
                                         )   In RE Subpoenas issued by the United States
v.                                       )   District Court For the Northern District of
                                         )   Georgia, Atlanta Division, Civil Action No.
COFFEE COUNTY BOARD OF                   )   1:17-CV-2989-AT
ELECTIONS AND REGISTRATION,              )
                                         )
       Defendant.                        )


     DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTION FOR FURTHER
                       EXTENSION OF TIME


       Defendant Coffee County Board of Elections and Registration (the “CCBOE”) files

this Response to Plaintiffs’ Motion for Further Extension of Time, in which they seek

additional time to file a motion challenging the CCBOE’s privilege assertions. (Doc. 47).

Because Plaintiffs fail to show good cause to extend the January 22, 2024 deadline to

file a motion challenging the CCBOE’s privilege assertions, their Motion for Further

Extension of Time should be denied.

       On January 9, 2024, Plaintiffs filed a Motion for Extension of Time. (Doc. 42). In

their motion, Plaintiffs anticipated the “need to file a motion seeking the production of

certain documents identified on the New Log” and requested that “they be permitted to

file such a motion by or before January 22, 2024. [maybe earlier? Given the trial

dates?].” (Doc. 42, p. 4). On January 18, 2024, the Court ordered that Plaintiffs “file any

motion challenging Defendant’s privilege assertions (which may include a motion to

produce privileged documents or a motion requesting in camera review) on or before

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January 22, 2024.” (Doc. 47, p. 2). On January 22, 2024, — the date of the deadline

previously requested by Plaintiffs — Plaintiffs filed their Motion for Further Extension

of Time. (Doc. 47).

       In their Motion for Further Extension of Time, Plaintiffs argue that their lead

counsel in this matter, Cary Ichter, needs input from the Curling lawyers to complete

Plaintiffs’ challenge of CCBOE’s privilege designations. (Doc. 47, p. 1). Mr. Ichter

admittedly is not lead counsel in the Curling matter, and therefore the need to consult

with separate counsel does not constitute good cause. Plaintiffs do not provide any

additional reasons for their failure to meet the January 22, 2024 deadline. 1

       In the context of motions for extension of time, the Eleventh Circuit has held that

there is a limit to the amount of leniency a court should provide:

       In the courts, there is room for only so much lenity. The district court must
       consider the equities not only to plaintiff and his counsel, but also to the
       opposing parties and counsel, as well as to the public, including those
       persons affected by the court’s increasingly crowded docket. Counsel must
       take responsibility for the obligations to which he committed and get the
       work done by the deadline . . . . Deadlines are not meant to be aspirational;
       counsel must not treat the goodwill of the court as a sign that, as long as
       counsel tries to act, he has carte blanche permission to perform when he
       desires.

Young v. City of Palm Bay, Fla., 358 F.3d 859, 864 (11th Cir. 2004). Here, Plaintiffs are

not entitled to a further extension and must “take responsibility for the obligations to

which [they] committed and get the work done by the deadline.” Id.

       For the foregoing reasons, the Court should deny Plaintiffs’ Motion for Further

Extension of Time.

1 Plaintiffs still have not responded to CCBOE counsel’s January 12 email regarding

Plaintiffs’ concerns with the New Log. (Doc. 44-1, p. 1) (where counsel for the CCBOE
wrote on January 12, 2024, “Other than our agreement to submit an updated privilege
log to delete reference to ‘media inquiry’ for Xrel000061231, is there anything else you
feel is needed from us? I believe we’ve satisfied all concerns you raised.”).
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     This 22nd day of January, 2024.



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                              CERTIFICATE OF SERVICE

       This is to certify that I have this day caused electronic notification of filing and
service of the foregoing to be made upon counsel of record for the parties by filing the
same using the Court’s CM/ECF filing system.


      This 22nd day of January, 2024.

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